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Exhibit A, Identifying Claimants and Businesses by Redacted SSN/FEIN or GCCF Number and Home State

State |Last name First name Middle name Business name SSN/Tax ID GCCF #

LA ALEXANDER |DARNELL JOSEPH 3112094

LA ALEXANDER |STEVEN ONEIL 3508836

LA ANTOINE TERRANCE JOSEPH 3260331

LA BADGER DARVIN A. 3246504

LA BATISTE MARCUS RAY 3190489

LA BATISTE NORMAN (NONE) 3369775

LA BATISTE SHION DELACY 3305196

LA BENOIT AARON WILLIAM XXX-XX-3186

LA BERGERON |DEREK JOSEPH XXX-XX-87 36

LA BERGERON _ |VERGICE, JR. J. XXX-XX--5 762

LA BILLIOT DEBRA B. XXX-XX-1 144

LA BILLIOT MICHAEL lt, XXX-Xx-0526

LA BLAIN JOSEPH MARTIN XXX-XX-3115

LA BOLDS ARSENIO, SR. JARROD 3143097

LA BOLDS SHARARD ANGELO 3180893

LA BOUIE REGINALD LOUIS XXX-XX-7 749

LA BROWN AUBREY XXX-XX-9235

LA BYCHURCH  |CRAIG G. XXX-XX-1030

LA CALHOUN ANTHONY CARNELL 3034130

KOURTNEY-

LA CALVIN MAURICE JAMES 3263397

LA CELISTAN JOHN D. 3040643

LA CHAMBERS — |ARCHIE, Ill LAFITTE 3338018

LA CHERAMIE CHRISTIAN JOBLER 1056391

LA CHERAMIE JHY (NONE) 3508663

LA CHILTON JOSHUA J. 3508979
CHIRINOS

LA MEJIA JUAN PABLO (none) N/A

LA COMBER RICHARD (NONE) 3134341

LA COOLEY LIONEL (NONE) 3186145

LA CREWS HARRY Ww. XXX-Xx-5941

LA CURTIS DAVID N/A XXX-Xx-8040

LA DANASTASIO |DALE (NONE) XXX-xx-4911 1

MS DANTZLER CECELIA LEE 1173691

LA DARDAR BRANDON ANTHONY 3226100

LA DARDAR TREY M. xxx-xx-5064

LA DAVIS HELENA M. 3003594)

LA DAY MICHAEL W. XXX-XX-5689

FL DEZORZI JAMES LOUIS XXX-XX-2265

LA ELLIS ALEXIS, SR. R. 3237549

LA EVANS LEN JR. 3208829

LA FISHER NAROBIA FREDRICK XXX-XX-2671

LA FONTENOT — {PHILLIP JOSEPH 3158837

LA GADDIS EDWARD JR LEO 3412990

LA GARDNER GILES, JR. WALKER XXX-XX-1097

LA GIVENS DONALD, JR. RAY 3042504

LA HENRY RENE WILBERT 3108858

LA HENRY RICKIE (NONE) 3238828

LA HILLS QUENTIN TERRANCE 3023209

LA HOLLOWAY [MICHAEL (NONE) 3257585

LA HOLMES TJAH MICHAEL 3197205

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Exhibit A, Identifying Claimants and Businesses by Redacted SSN/FEIN or GCCF Number and Home State

LA HOWARD CARLOS DEVONNE XXX-XX-6282
LA JACKSON RONALD, SR. (NONE) 3132528
LA JACKSON THAD (NONE) 3271369
LA JAMES DELILAH DENNIS XXX-xXx-6165
LA JAMES LAWRENCE, III (NONE) 3225841
LA JESSIE JASON ANTHONY 3191443
LA JENKINS JORY, SR. JERMAIN 3040538
LA JONES CHARLES EDWARD 3508837
LA JONES MICHAEL J. xxx-xx-6045
LA KILMER RYAN KEITH XXX-XX-3002
LA LANE WANDA JACQUELINE 3375149
LA LANUZA MAXIMO ALEJANDRO 3164592
LA LEBLANC DONNIE A. Xxx-xx-0083
LA LEWIS RAYFIELD (NONE) 3098263
LA LLOYD RONALD DOUGLAS 3164110
LA LOVE GENE A. 3299408
LA MATTHEWS |CHARLES, JR. J. SELF-EMPLOYED 1055979
LA MATTHEWS |LINDA A. SELF-EMPLOYED 1057136
LA McCLAINE MARCUS ELLIOTT 3151336
LA McCLINTON /|CLARENCE (NONE) 3354509
LA MCGHEE JAMES EMANUEL 3237530
Permanent
CASTILLO Resident Card
LA MEJIA JAIRO A, XXX-XXX-753
LA MILES TERRELL JERMAINE XXX-XX-8833
LA MILLER KENNETH ALLEN 3139794
FL MOSES WILLIAM EARL 1066700
LA NOYA MARK JOSEPH XxXX-Xx-6755
LA O'HAVER SHONERAY N. 3192670
LA PARKER DEREK TRENDELLE XXX-XX-9217
FL PEREZ HERIBERTH M. XXX-XxX-9878
LA POSEY MICHAEL JR (NONE) 3243295
LA RAWKIN WILLIAM CLIFFORD 1147881
AL RAYMOND WILLIE (NONE) 3415082
LA RINGO DON RAY 3248670
LA ROBINSON COREY (NONE) 3111855
LA ROBINSON KENNETH CARL 3162334
LA ROJAS RODNEY GEORGE XXX-XX-8737
LA RUDOLPH SHANTELL LYNN XXX-XX-9738
LA RUELAS ALBERTO GUADALUPE XXX-xXxX-5799
LA RUFFIN CHARLES LEE 3117608
LA SANDERSON |LARRY E, 3035144
LA SCOTT ARTEMUS D. 3190524
LA SCOTT DARNELL CHARLES 3028383
LA SCOTT JULES (NONE) xxx-xx-0188
LA SIMMONS CHARLES (NONE) 1170225
LA SIMS ERIC DEJEAN Xxx-xx-0431
LA SMITH TERRANCE MICHAEL 3049001
LA SNEAR ERNEST (NONE) XXX-Xx-5198
LA SOUBLET MELVIN (NONE) 3148359
LA SPEARS JAMES NOLAN 3407335
LA ST. JOHN EUGENE III MILTON XXX-XX-2256

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Exhibit A, Identifying Claimants and Businesses by Redacted SSN/FEIN or GCCF Number and Home State

LA SUTRO SEAN CHRISTOPHER 3276325
LA TATE STEVEN (NONE) XxXxX-xx-3005
LA THORNLEY |GARY MICHAEL 3510607
LA THORNTON |DERRICK P, 3461208
LA TOUPS RONNIE J. XXX-Xx-6402
LA VAUGHN NOIL M. 3024125
LA WARD GORDON, JR. SINCLAIR 3510680
LA WARREN GLENN (NONE) 3149308
LA WILLIAMS CHARLES R, 3132279
LA WILLIAMS CHRISTOPHER MCKINLEY 3133611
FL WILLIAMS DAVID CLAYTON XXX-xx-2061
FARRELL
ELECTRICAL &
LA WILLIAMS FARRELL, SR. G. CONSTRUCTION 3358896
LA WILLIAMS RICHARD XXX-XX-3063
TX WILLIAMS RORY DAVID 3397064
LA WILLIAMS SHANNON CALVIN XXX-XX-27411
LA WILLIAMS WALLACE, JR. JOSEPH XXxX-xX-9456
LA ZERINGUE JORDAN MARRADA XXX-XX-9698
TC ZIMMER JAY EDWIN XXX-Xx-0399

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